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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF KANSAS


DAN WILLIAM PETTIS,                                )
                                                   )
                                    Plaintiff,     )
                                                   )           CIVIL ACTION
v.                                                 )
                                                   )           No. 17-2603-JWL
MAZUMA CREDIT UNION,                               )
                                                   )
                                   Defendant.      )
                                                   )
                                                   )


                                                ORDER

        Counsel for the parties listed above have notified the court that they have settled and

compromised the claims in this lawsuit.


        IT IS THEREFORE ORDERED that the clerk shall administratively terminate this action

without prejudice to the rights of the parties to reopen the proceedings for good cause shown, for the

entry of any stipulation or order, or for any other purpose required to obtain a final determination of

the litigation. On or before DECEMBER 29, 2017, the parties shall file a stipulation of dismissal

signed by the parties above who have appeared in the action, under Rule 41(a)(1) of the Federal

Rules of Civil Procedure. If no such stipulation is received within the specified time and the parties

have not reopened for the purpose of obtaining a final determination, this order shall constitute, for

purposes of Rule 58 of the Federal Rules of Civil Procedure, the Court's entry of final judgment of

dismissal with prejudice under Rule 41(a)(2).


        IT IS SO ORDERED.
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   Dated this 9th day of November, 2017 at Kansas City, Kansas.


                                  s/ John W. Lungstrum
                                  JOHN W. LUNGSTRUM
                                  UNITED STATES DISTRICT JUDGE
